          Case 2:09-cr-00113-GMN-EJY           Document 364        Filed 07/22/11      Page 1 of 4



 1
 2                               UNITED STATES DISTRICT COURT
 3                                        DISTRICT OF NEVADA
 4   UNITED STATES OF AMERICA,                          )
                                                        )
 5                          Plaintiff,                  )
                                                        )
 6          v.                                          )           2:09-CR-113-GMN-PAL
                                                        )
 7   JOSE LOPEZ-BUELNA, et al.,                         )
                                                        )
 8                          Defendants.                 )
 9                                 FINAL ORDER OF FORFEITURE
10   I.     Findings of Fact:
11          On October 13, 2009, defendants Jose Lopez-Buelna, Erik Webster, Roberto Lopez, Adolph
12   Vargas and Luis Vega-Rubio were indicted on various charges including Conspiracy to Distribute
13   a Controlled Substance in violation of Title 21, U.S. C. §§ 841(a)(1) and 846; Conspiracy to Launder
14   Money in violation of Title 18, U.S.C. § 1956(h); Money Laundering in violation of Title 18, U.S.C.
15   §§ 1956(a)(1)(A)(I) and 1957; Conspiracy to Commit Kidnapping in violation of Title 18, U.S.C.
16   §1201(c); Kidnapping in violation of Title 18, U.S.C. §1201; Conspiracy to Commit Hostage Taking
17   in violation of Title 18, U.S.C. § 1203(a); and Hostage Taking in violation of Title 18, U.S.C. §
18   1203. The Second Superseding Indictment (“Indictment”) additionally alleged that the following
19   property (“listed property”) was subject to forfeiture pursuant to Title 21, U.S.C. § 853:
20          (1)     2004 Chevrolet Corvette, VIN 1G1YY22G645118394;
21          (2)     2006 Mandalay recreational vehicle, VIN 4UZACJBV86CX12477;
22          (3)     1998 Lexus, VIN JT8BF28G1W5027609;
23          (4)     2004 Dodge pickup truck, VIN 1D7HA18D845652202;
24          (5)     2005 Monaco recreational vehicle, VIN 1RF51344651035847;
25          (6)     2008 Jeep Grand Cherokee, VIN 1J8HR78348C237819;
26          (7)     Chrysler 300 four-door sedan, California license plate # 5XYB944;
27          (8)     2006 Land Rover Range Rover, VIN SALME15406A214552;
28          (9)     2008 BMW, VIN 5UXFE83548L162191;
     Case 2:09-cr-00113-GMN-EJY         Document 364       Filed 07/22/11     Page 2 of 4



 1     (10)   1990 Maxium 26 foot boat, VIN USPA20MCJ990;
 2     (11)   Sport trailer, S/N 159BS26292W5422213;
 3     (12)   Approximately $60,000.00 in U.S. currency shipped via Federal
 4            Express on June 18, 2008, tracking # 9529 9366 7044;
 5     (13)   Approximately $60,000.00 in U.S. currency shipped via Federal
 6            Express on June 18, 2008, tracking # 9529 9366 7055;
 7     (14)   Unknown amount of U.S. currency shipped via Federal Express on
 8            June 30, 2008, tracking # 9529 9366 7559;
 9     (15)   $36,020.00 in U.S. currency recovered on October 16, 2008, from
10            safety deposit box #327 at Wachovia Bank, 2675 Pass Road, Biloxi,
11            MS;
12     (16)   $67,985.00 in U.S. currency recovered from a Chrysler 330,
13            California plate # 5XYB944 on October 17, 2008;
14     (17)   $34,220.00 in U.S. currency recovered on October 16, 2008, from
15            safety deposit box # 136, Whitney Bank, 800 Highway 90, Bay St.
16            Louis, MS;
17     (18)   $3,505,071.00 in U.S. currency recovered on October 17, 2008, from
18            storage unit G59, Mary Self Storage, 3248 Mary Street,
19            Riverside, CA;
20     (19)   $48,102.09 in U.S. currency recovered on October 21, 2008, from
21            Bank of America account #           9427;
22     (20)   $17,000.00 in U.S. currency recovered on October 21, 2008, from
23            Bank of America account #            6385;
24     (21)   $61,010.00 in U.S. currency recovered on 10/22/08 safe deposit
25            #528, Silver State Schools Credit Union, 4221 S. McLeod, Las
26            Vegas, NV;
27
28                                            2
           Case 2:09-cr-00113-GMN-EJY            Document 364         Filed 07/22/11       Page 3 of 4



 1           (22)   $20,956.36 in U.S. currency recovered on June 3, 2009 from Wescom
 2                   Credit Union account #      5904;
 3           (23)   $12,796.11 in U.S. currency recovered on June 9, 2009, from
 4                   Northwest Savings account #             1657;
 5           (24)    Colt Government Series 80 model .38 caliber stainless steel semi-
 6                   automatic pistol, serial # 38SS03200;
 7           (25)   Colt Special Combat Government model .38 caliber stainless steel
 8                   semi-automatic pistol, serial # 38SCG0412;
 9           (26)   $42,000.00 recovered from 4035 Devon Street, Bay St. Louis, MS
10                   on or about October 16, 2008;
11           (27)    2006 Mercedes Benz SLK 280, VIN WDBWK54F36F133145;
12           (28)    $42,230.00 in U.S. currency recovered on October 18, 2008 from
13                   17780 Citron Avenue, Apt. B in Fontana, CA;
14           (29)    $8,987.99 in U.S. currency recovered on November 13, 2008,
15                   from Hancock Bank account # 015443791; and
16           (30)    $5,635.00 from an uncashed cashier’s check made out to Clemens
17                   Tinnemeyer recovered on November 17, 2008.
18   All of the listed property was seized and administratively forfeited by the Federal Bureau of
19   Investigation and/or the Drug Enforcement Administration, prior to the commencement of the trial
20   in January of 2011. The forfeitures occurred during the pendency of the investigation that resulted
21   in the Indictment, in the District of Nevada, the Southern District of Mississippi, the Central District
22   of California, and elsewhere. The United States is seeking this Final Order of Forfeiture to ensure
23   that the record is clear regarding the disposition of the listed property.
24   II.     Waivers by Defendants:
25           Defendant Adolph Vargas entered a plea of guilty to Count 1 of the Indictment and a
26   Superseding Information (Doc. # 224) on January 18, 2011 (Plea Memorandum Doc. # 225). As
27
28                                                       3
            Case 2:09-cr-00113-GMN-EJY           Document 364         Filed 07/22/11       Page 4 of 4



 1   part of his plea, defendant Vargas waived any interest he had in the listed property (stating that he
 2   had none), and waived any right to object to its forfeiture.
 3            Defendant Roberto Lopez entered a plea of guilty to a Superseding Information (Doc. #282)
 4   on February 17, 2011 (Plea Memorandum Doc. # 284). As part of his plea, defendant Lopez waived
 5   any interest he had in the listed property, and waived any right to object to its forfeiture.
 6            Defendant Luis Vega-Rubio entered a plea of guilty to a Superseding Information (Doc. #
 7   286) on February 16, 2011 (Plea Memorandum Doc. # 288). As part of his plea, defendant Lopez
 8   waived any interest he had in the listed property, and waived any right to object to its forfeiture.
 9            Defendant Jose Lopez-Buelna entered a plea of guilty to Counts 1, 2, 3, and 4 of the
10   Indictment on February 16, 2011 (Plea Memorandum Doc. # 288). As part of his plea, defendant
11   Lopez-Buelna waived any interest he had in the listed property, and waived any right to object to
12   its forfeiture.
13            Defendant Erik Webster was convicted by the jury of Counts 1 and 2 of the Indictment on
14   February 17, 2011. To obviate the need for a separate forfeiture trial, defendant Webster waived any
15   interest he had in the listed property, and waived his right to object to its forfeiture.
16   III.     ORDER
17            THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that all right,
18   title, and interest in the listed property is condemned, forfeited, and vested in the United States of
19   America pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B); Fed. R. Crim. P. 32.2(c)(2); Title 18,
20   United States Code, Section 982(a)(2)(A); and Title 21, United States Code, Section 853(p); and
21   Title 21, United States Code, Section 853(n)(7), and has been disposed of according to law.
22            DATEDthis
              DATED this_________
                         22nd day day
                                  of July, 2011.
                                      of _______________, 2011.
23
24                                                    ________________________________
                                                     GLORIA  M. NAVARRO
                                                      Gloria M.
                                                     UNITED     Navarro
                                                             STATES  DISTRICT JUDGE
25                                                     United States District Judge
26
27
28                                                      4
